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 Fill in this information to identify your case:

 Debtor 1                  Stuart Roy Miller
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number           20-22497-EPK
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $40,119.00           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




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 Debtor 1      Stuart Roy Miller                                                                           Case number (if known)   20-22497-EPK


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

                                                      Wages, commissions,                       $28,590.00           Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For last calendar year:                              Wages, commissions,                       $26,000.00           Wages, commissions,
 (January 1 to December 31, 2019 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                      $124,857.00           Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Disability                                                $44,580.00
 the date you filed for bankruptcy:

 For last calendar year:                           Disability                                   $88,800.00
 (January 1 to December 31, 2019 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.




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 Debtor 1      Stuart Roy Miller                                                                           Case number (if known)   20-22497-EPK


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Lauralee Longstaff                                        11/3 /20 - $3,200              $9,600.00                 $0.00       Mortgage
       2215 SW 11th Place                                        10/15/20 - $3,200                                                    Car
       Boca Raton, FL 33486                                      09/15/20 - $3,200                                                    Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other Rent


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Hill Country Hillside LTD., et al. vs.                    Breach of                  Heman Marion Sweatt                        Pending
       Denials Recovery Group, Inc. et al                        Contract                   Travis County                              On appeal
       D-1-GN-17-006611                                                                     Courthouse
                                                                                                                                       Concluded
                                                                                            1000 Guadalupe 4th Floor
                                                                                            Austin, TX 78701

       Richard Scorsone vs. Advanced                             Breach of                  15th Judicial Circuit Court                Pending
       Healthcare Technologies, LLC and                          Contract                   205 N Dixie Hwy                            On appeal
       Stuart Miller                                                                        West Palm Beach, FL 33401
                                                                                                                                       Concluded
       2015CA003772

       Hill Country Hillside et al vs.                           Foreign Judgment           15th Judicial Circuit Court                Pending
       Stuart Miller et al                                                                  205 N Dixie Hwy                            On appeal
       50-2019-CA-014260                                                                    West Palm Beach, FL 33401
                                                                                                                                       Concluded


       Merchant Advance et al vs.                                Foreign Judgment           15th Judicial Circuit Court                Pending
       Denials Recovery Group, Inc. et al                                                   205 N Dixie Hwy                            On appeal
       50-2019-CA-010287                                                                    West Palm Beach, FL 33401
                                                                                                                                       Concluded



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 Debtor 1      Stuart Roy Miller                                                                           Case number (if known)    20-22497-EPK


       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Cast Capital et al vs. Denials                            Foreign Judgment           15th Judicial Circuit Court                 Pending
       Recovery Group, Inc. et al                                                           205 N Dixie Hwy                             On appeal
       50-2019-CA-007159                                                                    West Palm Beach, FL 33401
                                                                                                                                        Concluded


       Cast Capital Funding vs. Stuart                           Civil Judgment             Erie County Supreme Court                   Pending
       Miller, Denials Recovery                                                             25 Delaware Avenue                          On appeal
       18812348                                                                             Buffalo, NY 14202
                                                                                                                                        Concluded

                                                                                                                                     - 77,230.00

       Merchant Advance vs Stuart Miller,                        Civil Judgment             Kings County Supreme                        Pending
       Advanced Healthcare                                                                  Court                                       On appeal
       Technologies, LLC                                                                    360 Adams Street
                                                                                                                                        Concluded
       3778130                                                                              Brooklyn, NY 11201
                                                                                                                                     - 26,055.00

       World Global Capital, LLC D/B/A                           Breach of                  Supreme Court of the State                  Pending
       Smart Business High Risk vs.                              Contract                   of New York                                 On appeal
       Denials Recovery Group, Inc and                                                      Ontario County
                                                                                                                                        Concluded
       Stuart Miller                                                                        27 North Main Street
       119398-2018                                                                          Canandaigua, NY 14424

       Paymentpro Systems, LLC vs.                               Breach of                  Kings County Supreme                        Pending
       Denials Recovery Group, Inc DBA                           Contract                   Court                                       On appeal
       Revenue Maximazation Group and                                                       360 Adams Street
                                                                                                                                        Concluded
       Stuart R. Miller                                                                     Brooklyn, NY 11201
       521881/2018

       EIN Cap, Inc. vs. Denials Recovery                        Breach of                  Supreme Court of the State                  Pending
       Group, Inc. d/b/a Denials Recovery                        Contract                   of New York                                 On appeal
       Group and Stuart R. Miller                                                           Ontario County
                                                                                                                                        Concluded
       119361-2018                                                                          27 North Main Street
                                                                                            Canandaigua, NY 14424

       Applied Revenue Analytics, LLC                            Breach of                  146th Judicial District Court               Pending
       vs. Denials Recovery Group, Inc.                          Contract                   1201 Huey Road                              On appeal
       and Stuart Miller                                                                    Belton, TX 76513
                                                                                                                                        Concluded
       296, 197 - B

       John D. Long, Jr. Trustee of the JG                       Breach of                  Circuit Court of Fairfax                    Pending
       Family Trust vs. Denials Recovery                         Contract                   County                                      On appeal
       Group, Inc. et al                                                                    4110 Chain Bridge Road
                                                                                                                                        Concluded
       CL-2018-0008714                                                                      Fairfax, VA 22030


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened




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 Debtor 1      Stuart Roy Miller                                                                           Case number (if known)    20-22497-EPK


       Creditor Name and Address                                 Describe the Property                                        Date                     Value of the
                                                                                                                                                          property
                                                                 Explain what happened
       Bmw Financial Services                                    2014 BMW 740I Vin No:                                        July 2019                  $7,815.00
       Attn: Bankruptcy                                          WBAYA6C51ED144602: The BMW was
       Po Box 3608                                               repossesed sometime in June or July of
       Dublin, OH 43016                                          2019 but, I was able to pay the owed
                                                                 amount within a week and got the car back
                                                                 without any other incident.

                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.

       Southeast Finacial LLC                                    2014 Kia Cadenza Vin No:                                     March 18,                $10,575.00
       4000 N Federal Way                                        KNALN4D77E5162454: The Kia Cadenza                           2019
       Boca Raton, FL 33431                                      was repossed on March 18, 2019. I was
                                                                 able to pay the owed amount within a week
                                                                 and got the car back without any other
                                                                 incident.

                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.

       Richard Scorsone                                          Money garnished from Seacoast account                        August 10,                 $8,119.35
       c/o The Gebeloff Law Group                                ending in 7451                                               2020
       6971 N Federal Highway, Suite 300
       Boca Raton, FL 33487                                          Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was               Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                   Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:



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14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                        Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Furr and Cohen, P.A.                                          Attorneys Fees and Cost                                  October 22,              $50,000.00
       2255 Glades Road                                                                                                       2020
       Suite 301E
       Boca Raton, FL 33431
       Howard Sperling


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you




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19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                        Date Transfer was
                                                                                                                                              made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was            Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                             have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                     have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                              Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                    Status of the
       Case Number                                                   Name                                                                             case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       RMG Healthcare Services, Inc.                                                                                 EIN:       XX-XXXXXXX
       3421 NW 25th Ter
       Boca Raton, FL 33434                                                                                          From-To


       Denials Recovery Group, Inc.                                                                                  EIN:       XX-XXXXXXX
       3421 NW 25th Ter
       Boca Raton, FL 33434                                                                                          From-To


       HMMSRM, LLC                                                                                                   EIN:       None
       3421 NW 25th Ter
       Boca Raton, FL 33434                                                                                          From-To    6/8/2020 to Present

       Advanced Healthcare                                                                                           EIN:       XX-XXXXXXX
       Technologies "LLC"
       3421 NW 25th Terrace                                                                                          From-To    3/2/2014 to 09/27/2019
       Boca Raton, FL 33434




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        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Revenue Maximization Group Corp                                                                          EIN:         None
        3421 NW 25th Ter
        Boca Raton, FL 33434                                                                                     From-To


        JRS Health Services, LLC                                                                                 EIN:         XX-XXXXXXX
        1761 Annandale Circle
        West Palm Beach, FL 33411                                                                                From-To      April 2020 to September 2020


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Kastleman & Associates, Inc.                             6/30/20
        2714 Bee Cave Road, Suite 204
        Austin, TX 78746

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Stuart Roy Miller
 Stuart Roy Miller                                                         Signature of Debtor 2
 Signature of Debtor 1

 Date      December 22, 2020                                               Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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